                    IN THE UNITED STATES BANKRUCPTY COURT FOR THE
                            MIDDLE DISTRICT OF PENNSYLVANIA

In re:                                                   No. 4:17-bk-05290 Chapter 7
         Edwin C. Knecht, Jr., and Tammy L. Knecht

Jersey Shore State Bank,
               Movant

              v.
Edwin C. Knecht, Jr., and Tammy L. Knecht and
John P. Neblett, Trustee
              Respondents

                               MOTION FOR RELIEF FROM STAY

    1) Jersey Shore State Bank (hereinafter “Movant”) is a secured creditor in the matter captioned

above, based upon the fact that the Debtors have a loan with Movant secured by a mortgage lien on

multiple parcels of real property owned by the Debtors (hereinafter collectively the “Premises”).

    2) The Debtors are in payment default of the terms of the repayment terms of the loan secured by

the mortgage. For that reason, the Bank filed the attached Complaint in Mortgage Foreclosure.

    3) Bank obtained a judgment by default in mortgage foreclosure against the Debtors in the amount

of $214,730.37, together with pre-judgment and post-judgment interest at the contract rate, reasonable

attorney’s fees, and costs of suit, and executed upon that judgment.

    4) There are multiple Internal Revenue Service liens on the Premises, as listed in the Complaint

attached hereto.

    5) The Debtors have not offered Bank adequate protection of Bank’s mortgage interest by additional

collateral, or by periodic payments, or otherwise. Thus, Bank’s mortgage lien is not adequately

protected.




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   WHEREFORE, Movant respectfully requests this Honorable Court grant Movant relief from the

automatic stay, permitting Movant to foreclose Movant’s interest in the Premises, to proceed to Sheriff’s

sale pursuant to applicable state law, and to apply the proceeds of that foreclosure to the secured

indebtedness.



                                              ELION, GRIECO, CARLUCCI,
                                              & SHIPMAN, P.C.
                                              /s/William P. Carlucci
                                              William P. Carlucci, Esquire
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         CERTIFICATE OF CONCURRANCE ON MOTION FOR RELIEF FROM STAY

         Counsel for the Debtor advised the undersigned by telephone on January 30, 2018, that counsel

for the Debtors concurs in this Motion. Thus, the undersigned confirmed the concurrence of the Trustee

by email, on that same date.


                                             ELION, GRIECO, CARLUCCI,
                                             & SHIPMAN, P.C.
                                             /s/William P. Carlucci
                                             William P. Carlucci, Esquire
                                             Attorney for Jersey Shore State Bank
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